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                             CURRICULUM VITAE

                      Daniel W. Berland, MD, FACP, FASAM
                   Emeritus Clinical Associate Professor of Medicine
                        Division of General Internal Medicine
                           Department of Internal Medicine
                          and Department of Anesthesiology
                                University of Michigan
                           3305 Taubman Center, SPC 5352
                            1500 E. Medical Center Drive
                                Ann Arbor, MI 48109
                               Office Tel: 734-615-6379
                             Email: danielbe@umich.edu


 Education and Post-Doctoral Training
 9/1973-5/1977        University of Michigan, Ann Arbor, MI; B.S. with Honors (Zoology
                      and Microbiology); May, 1977

 7/1977-6/1980        Ohio State University College of Medicine, Columbus, OH; M.D.
                      June, 1980

 7/1980-6/1981        Henry Ford Hospital, University of Michigan Affil., Detroit, MI;
                      Categorical Internal Medicine (Intern)

 7/1981-6/1983        Henry Ford Hospital, University of Michigan Affil., Detroit, MI;
                      Categorical Internal Medicine (Resident)

 Certification and Licensure
 1978-1980            Diplomate, National Board of Medical Examiners – Parts I-III

 9/1983-present       American Board of Internal Medicine (#092734)

 8/1983-2008          Physician and Surgeon, State of Illinois (#036-066835)

 8/2006-present       Physician, State of Michigan (#4301088824)

 6/2007               Buprenorphine Training and Certification Course

 12/2008-present      American Board of Addiction Medicine (#626449)




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 Academic, Administrative and Clinical Appointments
 Academic Appointments/Positions

 8/1983-8/1984           Staff Physician – Michael Reese Hospital and Health Plan, Chicago,
                         IL

 9/1984-9/1985           Instructor of Clinical Medicine, Department of Medicine, University
                         of Chicago Pritzker School of Medicine, Chicago, IL

 9/1985-9/1993           Assistant Professor of Clinical Medicine, Department of Medicine,
                         University of Chicago Pritzker School of Medicine, Chicago, IL

 9/1993-6/1996           Associate Professor of Clinical Medicine, Department of Medicine,
                         University of Chicago Pritzker School of Medicine, Chicago, IL

 7/1997-12/2005          Clinical Associate Professor of Medicine, Department of Medicine
                         Rosalind Franklin School of Medicine and Science (formerly, The
                         Chicago Medical School), North Chicago, IL

 3/2005-12/2005          Visiting Associate Professor of Clinical Medicine, Department of
                         Medicine, University of Illinois Medical School, Chicago, IL

 9/2006-8/2017           Clinical Assistant Professor of Medicine, Division of General Internal
                         Medicine, Department of Medicine, University of Michigan, Ann
                         Arbor, MI

 3/2008-9/2017           Clinical Assistant Professor of Medicine, Department of
                         Anesthesiology, University of Michigan, Ann Arbor, MI

 9/2017-12/2020          Clinical Associate Professor of Medicine, Depts. Of Medicine
                         and Anesthesiology, University of Michigan, Ann Arbor

 1/2021-present          Emeritus Associate Professor of Medicine, Dept. of Medicine, UM

 Clinical and Administrative Appointments

 9/1985-6/1988           Director, University of Chicago General Internal Medicine
                         Consultation Service

 9/1986-6/1993           Director, University of Chicago Anticoagulation Clinic

 3/1990-6/1995           Residency Program Director, University of Chicago B Programs
                         in Categorical, Preliminary and Transitional Medicine at Weiss
                         Hospital, Chicago, IL



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3/1990-6/1995        Coordinator, Univ. of Chicago/Weiss Medicine Training Affiliation

9/1995-5/1996        Course Director, UC Physical Diagnosis course at Weiss Hospital
                     Chicago, IL

7/1996-10/2003       Director of Inpatient Medicine Services, Mount Sinai Hospital,
                     Chicago, IL

7/1996-10/2003       Associate Residency Program Director/Site Coordinator, Chicago
                     Medical School Internal Medicine Residency Program

4/1998-10/2003       Director, Pain Consultation Service, Mount Sinai Hospital

10/1999-10/2003      Director, Anticoagulation Center, Mount Sinai Hospital

11/2003-12/2005      Director, Performance Improvement, Department of Medicine,
                     Illinois Masonic Hospital, Chicago, IL

1/2004-12/2005       Director, Anticoagulation Clinic, Illinois Masonic Hospital

9/2006-8/2017        Clinical Assistant Professor of Medicine, University of Michigan

9/2007-6/2015        Orders Management Project (Computerized Physician Order Entry)
                     Physician Executive

3/2008-8/2017        Clinical Assistant Professor, Anesthesiology Back and Pain Center,
                     University of Michigan

Academic Interests
                     Pain and opioid therapy management; prescription drug addiction

                     Clinical pathways development, computerized physician order entry
                     and improving practice quality

Grants (current and past)
09/2020-08/2023      Reframing Optimal Management of Pain and Opioids in Older Adults.
                     AHRQ-DHHS-US- 20-PAF05277. (Principal Investigator: Daniel
                     Berland) $2,049,983

01/2020-12/2021      Michigan Opioid Collaborative BCBSM. 20-PAF01412.
                     Co-I with Effort (Principal Investigator: Amy S B Bohnert)
                     $1,499,176




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09/2017-10/2020         Past: Community Interventions to Reform Prescribing and
                        Prevent Opioid Abuse in Detroit and Wayne County. US Dept. of
                        Health and Human Services, Office of Minority Health. (Principal
                        Investigator: Daniel Berland) $349,978

10/2019-04/2020         Past: The Michigan Opioid Collaborative: A Training and Support
                        Program for Clinicians Treating Opioid Use Disorders. SubK
                        SAMHSA-DHHS-US through a consortium with MDHHS- 20
                        PAF03692. Co-I with Effort (Principal Investigator: Amy S B
                        Bohnert) $196,307

Honors and Awards
1977                    B.S. Honors in Zoology, University of Michigan, Ann Arbor, MI

1977                    B.S. "With Distinction" in Microbiology, University of Michigan, Ann
                        Arbor, MI

1978                    College of Medicine Physiology Award, Ohio State University,
                        Columbus, OH

1997-present            Fellowship, American College of Physicians

2008-2020               Various Patient Safety and “You’re Super” awards, UM

2016-2020               Fellowship, American Society of Addiction Medicine

Membership in Professional Societies
1987-present            Fellow, American College of Physicians (#00189973)

2007-present            American Society of Addiction Medicine (#626449)

Editorial Positions and Peer-Review Service
Manuscript reviewer/Editor

2003                    JAMA

2015-present            Prescriber’s Letter and Pharmacists’ Letter

Peer Review

1989-1996               Certified Reviewer for PRO, Crescent Counties Foundation for
                        Medical Care, Chicago, IL

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 Teaching
 9/1984-6/1996        Attending, General Internal Medicine Inpatient Services,
                      University of Chicago Hospital

 9/1984-6/1993        Attending, General Internal Medicine Resident Clinics,
                      University of Chicago Hospital

 7/1987-6/1993        Attending, Junior Student Medicine 303, University of Chicago

 9/1984-5/1996        Attending, Physical Diagnosis Course, University of Chicago

 4/1990-6/1996        Attending, Morning Report, University of Chicago/Weiss Hospital

 4/1990-5/1996        Attending, Medicine Inpatient Services, University of Chicago/Weiss

 4/1990-6/1996        Lecturer, Various topics (including Consultation Medicine, Medical
                      Informatics, Diabetes, Acid-Base analysis, Fluid and Electrolyte
                      Management, Pain Management, Career Planning), University of
                      Chicago Program B/ Weiss Hospital Lecture Series

 7/1992-6/1995        Moderator, Journal Club, University of Chicago/Weiss Hospital

 7/1993-6/1996        Attending, General Internal Medicine Resident Clinics, University of
                      Chicago/Weiss Hospital

 6/1992-6/1996        Pre-residency training course for University of Chicago Program B/
                      Weiss residents

 7/1996-10/2003       Attending Physician, General Internal Medicine Inpatient Services,
                      Chicago Medical School, Mount Sinai Hospital, Chicago, IL

 7/1996-6/2002        Medicine Core Clerkship Course instructor, Chicago Medical School

 7/1996-10/2003       Attending Physician, Resident Clinics at Mount Sinai Hospital

 9/1996-4/2003        Attending, Physical Diagnosis Course, Chicago Medical School

 7/1996-10/2003       Attending and Curriculum Coordinator, Intern Report, Chicago
                      Medical School Residency Program

 1996-2003            Lecturer, Various topics (including Consultation Medicine, Medical
                      Informatics, Diabetes, Acid-Base analysis, Fluid and Electrolyte
                      Management, Pain Management, Career Planning)
                      Mount Sinai Hospital and Chicago Medical School



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1999-2002            Guest Medicine Attending, Surgery Morning Report, Chicago Medical
                     School Department of Surgery (monthly)

11/2003-12/2005      Attending, Internal Medicine Inpatient Services, Illinois Masonic
                     Hospital, Chicago Medical School and University of Illinois Affiliate

11/2003-12/2005      Attending, Medicine Resident Clinics, Illinois Masonic Hospital

11/2003-12/2005      Attending, Resident Morning Report, Illinois Masonic Hospital

11/2003-12/2005      Faculty Coordinator, Morbidity & Mortality and Near Miss
                     Conferences, Illinois Masonic Hospital

11/2003-12/2005      Lecturer Various topics (including Consultation Medicine, Medical
                     Informatics, Diabetes, Acid-Base analysis, Fluid and Electrolyte
                     Management, Pain Management, Career Planning), Noon
                     Conferences for residents and students of both CMS and UIC at
                     Illinois Masonic Hospital

9/2006-12/2020       Attending, Internal Medicine Inpatient Teaching Services, University
                     of Michigan Hospital

9/2006-12/2020       Attending, Taubman Medicine Resident Clinic, UMich

12/2006-2013         Clinical Foundations of Medicine Course (M1 students), University of
                     Michigan
12/2006-2013         Clinical Educator Program Sessions (M2 students), Univ. of Michigan

12/2006-2011         Feedback in Clinical Skills (M3 students), University of Michigan

9/2007-12/2020       Noon Conference Attending Presenter various topics (including
                     Fluid/Electrolyte and IV Management, Acute and Chronic Pain
                     Management, UM

8/2008               Acute Pain Management for the Hospitalist. Hospitalist Noon
                     Conference, UM

9/2008               Managing Acute Pain in the Hospital. Intern Conference, UM

12/2008              Caring For the Drug Seeking Patient. Schwartz Rounds Panelist, UM

12/2008              Managing Chronic Pain in the Clinic. Family Medicine Conf., UM

2/2009               Acute Pain Management in the Hospital. Family Medicine Conf., UM




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 2/2009               Managing Chronic Pain in the Clinic. Medicine Resident Conference,
                      UM

 2/2009               Understanding the Ins and Outs of Buprenorphine. Hospitalist Noon
                      Conference, UM

 3/2009               Acute Pain Management on the Surgery Service. Surgery Resident
                      Conference, UM

 9/2009-12/2020       Resident Ambulatory Morning Report

 3/2010               Opioid Management training session for UM PharmDs

 2011-2020            Numerous student and resident rotators for Pain teaching from
                      Medicine, Family Medicine, Spine Program, Psychiatry, Addiction

 8/2011               David Cooke, MD faculty sabbatical 2-month training in pain and
                      opioid management

 8/2012               Third Year Student Clerkship Seminar: Principles of Pain
                      Management, August

 2012                 Clinical faculty development workshops on managing controlled
                      substance therapy at East Ann Arbor, Dexter and Brighton, Jun-Nov
 10/2013              Anita Kirsch, MD faculty sabbatical 2-month training in pain and
                      opioid management

 3/2014               After hours buprenorphine training session for Drs. Soyster and
                      McMaster from Canton.

 On-going             UM Resident Morning Report, UM Medicine and Family Medicine
                      Noon conference speaker on various topics; UM Pain fellow
                      conferences, GMO Clinic supervisor

 10/2015              Remedial UM Fam Med Faculty education and training

 Committee, Organizational and Volunteer Service
 Institutional

 1989-1991            Clinical Services Laboratory Committee, University of Chicago
                      Hospitals

 1991-1993            Medical Records Computerization Committee, UC Hospitals

 1990-1995            Patient Care Evaluation Committee, UC/Weiss Hospital

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1990-1995            Medical Staff Executive Committee, UC/Weiss Hospital

1990-1995            Chairman, Teaching and Evaluations Committee, UC/Weiss Hospital

1990-1996            Education Committee, UC/Weiss Hospital

1995-1996            Laboratory Information Systems Development Committee, UC/Weiss

1990-1996            Utilization Review Committee, UC/Weiss Hospital

1997-2003            Executive Committee, Chicago Medical School

1997-1998            Chairman, Chicago Medical School Residency Curriculum Committee
1997-2003            Information Systems Steering Committee, Sinai Health Systems

2003-2005            Education Committee, Department of Medicine, Mount Sinai Hospital

2003-2005            Coordination of Care Committee, Advocate Health Care System

2003-2005            Patient Safety Committee, Advocate Illinois Masonic Hospital

2003-2005            Performance Improvement Committee, Illinois Masonic Hospital

2003-2005            Physicians Informatics Advisory Committee, Illinois Masonic Hospital

2004-2005            Clinical Practice Council, Advocate Illinois Masonic Hospital

2003-2005            Chair, Performance Improvement Committee, Department of
                     Medicine, Advocate Illinois Masonic Hospital

2003-2005            Illinois Masonic CareConnection CPOE Development Committee

2003-05              Adverse Drug Events Review Sub-Committee, Illinois Masonic
                     Hospital

2006-08              Physician Executive, CareLink Orders Management Project (CPOE),
                     Univ. of Michigan

2007- present        Pain Team Board, University of Michigan Pain Service

2007- present        Pain Management Committee, University of Michigan

2007-2009            Pain/Opioid Policy and Guideline Subcommittee, UM

2008-13              Medication Adverse Reactions Committee, UM



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2008-2010            Clinical Documentation Committee, UM

2009-2014            Medication Safety Sub-Committee of Pharmacy and Therapeutics, UM

2009- present        Pain QI Committee, UM (Committee Co-chair: 2009-2014), UM

State and National

10/1999-11/1999      Expert Panelist for Establishment of Standards for the Clinical Skills
                     Assessment Examination, Educational Commission for Foreign
                     Medical Graduates, Philadelphia, PA

1997-2001            Education Committee, Association of Program Directors in Internal
                     Medicine

7/2009               FDA Opioid REMS Stakeholders Meeting, Washington, DC

11/2011-6/2016       Governor’s Advisory Committee on Pain and Symptom Management,
                     Lansing, MI

1/2015-              Washtenaw Health Initiative Opioid Project

Volunteer

1999-2006            Lakewood Balmoral National Historic District Landmarking
                     Committee

2001-05              American Youth Soccer League volunteer (field and office)

2002-2004            Volunteer physician, Community Free Clinic, Chicago, IL

2004-2005            Volunteer physician, Helping Hands Clinic, Chicago, IL

2006-2019            Burns Park Players Community Theater, Ann Arbor, MI

2016-present         Voters Not Politicians – Proposition 2 (Independent Resdistricting
                     Commission) and anti-voter suppression action. Roles: volunteer
                     signature gathering, public educational presenter, canvasser,
                     application workshop leader

2017-2018            Promote the Vote (2018 election) volunteer canvasser




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Visiting Professorships, Seminars and Extramural Invited Presentations
State and Local

8/1986               Case Discussant, Grand Rounds, Department of Medicine,
                     University of Chicago

10/1993              Group Discussion Session Leader, American College of Physicians
                     Illinois Associates Meeting, Chicago, IL


10/1997              “The Internet for Physicians and Other Health Care Workers”
                     Department of Medicine Grand Rounds, Mount Sinai Hospital

1997-2003            Guest Lecturer: Management of Fluid and Electrolyte Imbalance;
                     Assessment of Oxygenation; Management of Oxygen Therapy
                     Malcolm X College/Cook County Physician Assistant Program

1998-2003            Lecturer, Chronic pain management and other topics in Internal
                     Medicine, Family Practice Residency Conferences, Mount Sinai
                     Hospital, Chicago, IL

7/1999               “Update on Anticoagulation in Rehab Patients”
                     Grand Rounds, Schwab Rehabilitation Hospital, Chicago, IL
4/2002               “Use of handheld computing devices in Medicine”
                     Chicago Medical School Retreat

10/2002              “Changing a Hospital’s Practice of Pain Management”
                     Grand Rounds, Mercy Hospital, Chicago, IL
7/2005               “Modern Medical Practice – Are You Ready to be a Techno-Geek?”
                     Pediatric Grand Rounds, Illinois Masonic Hospital, Chicago, IL

3/2009               Managing Chronic Pain in the Clinic Setting. Bone Marrow Transplant
                     Service Special Conference, UM

3/2009               “Managing Chronic Pain in the Clinic – Practicing Universal
                     Precautions.” Pain for the Non-Pain Specialist, Department of
                     Anesthesiology Conference, UM

4/2009               Managing Chronic Pain in the Clinic – Practicing Universal
                     Precautions. Rheumatology Faculty/Fellows Conference, UM

9/2009               Acute and Chronic Pain Management. UM Emergency Department
                     Grand Rounds

2/2010               Managing Chronic Pain and Opioids. UM Physical Medicine and

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                     Rehabilitation Grand Rounds

 10/2010             “Managing Chronic Pain and Controlled Substances in the Office”
                     Southeastern Michigan Update in Family Medicine. Ann Arbor, MI

 11/2010             “Chronic Pain and Opioid Management – The UM Guideline”
                     Department of Obstetrics and Gynecology Grand Rounds, UM

 12/2010             “Managing Pain and Opioid Therapy in the Office – A Time For
                     Change” Department of Medicine Grand Rounds, UM

 2/2011              “Managing Pain and Opioid Therapy in the Office” University Health
                     Service Continuing Medical Education Lecture Series, Ann Arbor, MI

 3/2011              “Pain Management and Opioids – A Time For Change” Common
                     Problems in Office Practice, CME Conference, Plymouth, MI

 9/2011              “Rational Use of Controlled Medications” Workshop, American
                     College of Physicians Michigan Chapter Annual Scientific Meeting,
                     Grand Rapids, MI

 6/2012              “Peri-operative Analgesic Management - The Limited Role For
                     Opioids” Orthopedic Grand Rounds, UM

 6/2012              “Anticipating and Managing Pain in the Era of Prescription Drug
                     Abuse - the Appropriate Use of Analgesics” Transplant Surgery
                     Conference, UM

 11/2012             “Managing Chronic Pain – the Limited Role For Opioids” Hurley
                     Medical Center Workshop, Flint, MI

 11/2012             “Managing Chronic Pain in the Era of Prescription Drug Abuse” St.
                     Joseph Mercy Hospital Grand Rounds, Ypsilanti, MI

 1/2013              “Chronic Pain: Evidence, Clinical Pearls and Practical Tools for
                     Managing Your Patients.” A full day conference for health care
                     providers, Midland, MI [programmer, organizer, conference speaker]

 1/2013              “Managing Chronic Pain – a Limited Role For Opioids” Providence
                     Hospital Grand Rounds; case management workshop, Southfield, MI

 2/2013              “Anticipating and Managing Pain in the Era of Prescription Drug
                     Abuse – Appropriate Use of Analgesics” UM Trauma Burn
                     Conference

 3/2013              “Managing Pain and Controlled Medications” UM Geriatrics


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                     Workshop

4/2013               “Pain and Rational Analgesic Management in the Hospital Setting”
                     Hurley, McLaren, Genesys Hospitals evening workshop, Flint, MI

9/2013               “Chronic Pain: Evidence, Clinical Pearls And Practical Tools for
                     Managing Your Patients.” A full day conference for health care
                     providers, Lewiston, MI [programmer, organizer, chair and
                     conference speaker]

10/2013              “Insidious Epidemic of Benzodiazepine Use and Abuse” A two part
                     clinician workshop on anxiety and rational medication use. Michigan
                     Academy of Family Physicians Fall Update, Ann Arbor, MI

10/2013              “Issues in Substance Abuse and Substance Abuse Disorder: What the
                     Practicing Clinician Needs to Know (workshop) – Neurobiology of
                     Addiction and Physiology of Chronic Pain; Rational Opioid and
                     Sedative Prescribing; Case Discussions; Medical Marijuana – Review
                     of Clinical Evidence. Troy, MI

11/2013              Visiting Professor, Grand Rounds, Case Conference “Managing
                     Chronic Pain in the Era of Prescription Drug Abuse – What Have We
                     Done?” St. Johns Hospital, Detroit, MI

4/2015               Ambulatory Pain and Controlled Medication Evaluation and
                     Management Workshops. Saginaw VA

5/2015               “Managing Chronic Pain in the Era of Prescription Drug Abuse.
                     Full Day workshop. Alma, MI

6/2015               “Chronic Pain Management Tools and Clinical Pearls”
                     “Epidemiology of Benzodiazepine Use and Abuse” 51st Annual
                     Update on Common Clinical Concerns in Primary Care, Shanty Creek,
                     Bellaire, MI

11/2015              “Responsible Prescribing Practices in Pain Management”
                     MidMichigan Health daylong continuing education symposium,
                     Midland, MI

5/2016               “An Opioid Epidemic – Reversing the Trend While Improving
                     Patients’ Pain, Function and Lives. Lost Lake Woods Resort, Lincloln,
                     MI

5/2016               PMR Pain Management Workshop: “Finding Balance When
                     Managing Chronic Pain to Maximize Function and Minimize Harm”
                     Spectrum Blodgett Hospital, Grand Rapids, MI


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 9/2016              “Finding Balance When Managing Chronic Pain to Maximize
                     Function and Minimize Harm” Family Medical Ctr. of MI.
                     Temperance, MI

 10/2016             “Navigating Pain Management – Tools and Solutions For Physicians
                     and Health Care Providers” full day workshop, Traverse City, MI

 6/2017              Visiting Professor - Pain and Controlled Medication Management
                     Workshop: Grand Rounds, hospital rounds, noon conference. St. John
                     Hospital, Detroit, MI

 5/2018              “Chronic Pain, the Opioid Epidemic, the CDC Guideline, New State
                     Laws – Now What Do I Do? Alcona Health Center, Alpena, MI

 5/2018              “Managing Pain in the Era of An Opioid Epidemic” All day workshop.
                     McLaren Northern Michigan, Cheboygan, MI

 6/2018              “Opioid Management Challenges” Detroit War Memorial/St. John
                     Providence Ascension half day conference, Detroit, MI

 9/2018              “Chronic Pain, the Opioid Epidemic, the CDC Guideline, New State
                     Laws – Now What Do I Do? MidMichigan Gratiot Center half day
                     conference. Alma, MI

 10/2018             “Chronic Pain, the Opioid Epidemic, the CDC Guideline, New State
                     Laws – Now What Do I Do? Plenary and breakout sessions at UM
                     Fall Update in Family Medicine. Ann Arbor, MI

 10/2018             “Continuing the Opioid Conversation: Tapering, Alternatives,
                     Pharmacology and Overdoses” Thunder Bay Resort, Hillman, MI

 1/2019              “The Insidious Epidemic of Benzodiazepine Use and Abuse”
                     Providence Hospital Grand Rounds, Southfield, MI

 1/2019              “Buprenorphine Prescribing in the Pain Patient” Webinar series

 2/2019              “Pain and Opioid Management – Putting Words into Action”
                     Authority Health evening workshop. Detroit, MI

 6/2019              NW Michigan Health Dept. and Thunder Bay Pain Management
                     Webinar

 6/2019              UM Benzodiazepine Epidemic conference. UM, Ann Arbor

 10/2019             “The Insidious Epidemic of Benzodiazepine Use and Abuse” Plenary
                     and breakout sessions. UM Sports Medicine and Fall Update in Family
                     Medicine. Ann Arbor, MI


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 8/2020- present     Buprenorphine Management in Patients with Pain – Spring and Fall
                     Webinars for the Michigan Opioid Collaborative

 National

 10/1997             “Intern Report: Teaching a Uniform Skills Set to PGY1’s in Internal
                     Medicine” (poster). Teaching Internal Medicine Conference, Chicago,
                     IL


 9/1998              “Resident Recruitment and Retention”
                     Pre-course Workshop, Association of Program Directors in Internal
                     Medicine (APDIM), Chicago, IL

 3/2009              “Acute Pain and Opioid Management in the Hospital Setting”
                     Medicine Grand Rounds, Methodist Hospital, Des Moines, IA

 3/2009              “Managing Pain and Opioids in the Office – Practicing Universal
                     Precautions” Special Guest Presentation, Iowa Health System,
                     Des Moines, IA

 5/2009              Controlled Substance Prescription Management in the Resident
                     Continuity Clinics – Establishing Policies and Procedures
                     Society of General Internal Medicine (SGIM) Pre-course, Miami, FL

 7/2009              Internet Self-Study CME Activity: Managing Chronic Non-Terminal
                     Pain Including Prescribing Controlled Substances. Co-author.
                     Audience: primary care clinicians and other health care providers who
                     treat adults with this condition. (Available through the UM CME web
                     site: cme.med.umich.edu)

 10/2010             Visiting Professor. “Chronic Pain and Controlled Substance
                     Management.” Grand Rounds and Case Conferences. Susquehanna
                     Health System, Williamsport, PA

 11/2011             Visiting Professor. “Acute Pain and Opioid Management in the
                     Hospital Setting” Grand Rounds and Case Conferences. Susquehanna
                     Health System, Williamsport, PA

 3/2012              Visiting Professor. Iowa Required CME on Management of Pain and
                     Opioids: in Both the Inpatient and Outpatient Settings. Grand Rounds
                     and Case Conferences. Des Moines, IA

 8/2012              “Managing Chronic Non-Terminal Pain: All Roads Don’t Lead to
                     Opioids” South Carolina Opioid Safety Initiative Conference,
                     Charleston, SC


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 8/2012                   Opioid Safety, State Policy and Strategies for Success. South Carolina
                          Opioid Safety Initiative Conference, Charleston, SC

 3/2014                   Managing Chronic Pain in the Elderly - Maximizing Function,
                          Minimizing Harm” Geriatric Grand Rounds, Rush Medical School,
                          Chicago, IL

 9/2014                   Pharmacist Controlled Medication Management training. Medical
                          University of So. Carolina – via Skype
 3/2015                   Visiting Professor: Inpatient and Ambulatory Pain and Analgesic
                          Evaluation and Management Faculty, Resident and Student
                          Workshops. Lankeanau Medical Center, Philadelphia PA

 8/2016                   Visiting Professor: Ambulatory Pain assessment and Management
                          Grand Rounds; consultant to the Opioid Reduction Task Force;
                          Meeting with Nursing regarding inpatient pain management and Epic.
                          Rush University, Chicago, IL

 10/2016                  “The Opioid Crisis: The Primary Care Perspective. Midwest Pain
                          Society, Chicago IL

 4/2017                   “Frontline Pain Management” Full day workshop plus full day
                          with health system leadership. Regional Health, Rapid City, SD

 4/2018                   “ACP Pop-Up Education” Detection and assessment of opioid
                          overdose, and the use of naloxone. American College of Physicians
                          Annual Meeting New Orleans, LA.

 Bibliography
 Peer-Reviewed Journals and Publications

 1. Berland DW, Chu JS, Hosley MA, Jones LB, Kaliszewski JM, Lawler WC, Oakley B. New
    approaches to the problem of the trophic function of neurons. Olfaction and Taste VI, Paris,
    1977.

 2. Berland D. Internal medicine and pretraining for international medical graduates. Letter.
    Annals of Internal Medicine 1992; 118:397.

 3. Bennett CL, Schwartz D, Lane D, Sipler A, Bhattacharya M, Kozloff M, Berland D, Pitrak
    D, Moswin A. Variations in inpatient care for HIV-related tuberculosis patients during a
    recent nosocomial outbreak of multidrug-resistant tuberculosis. Letter. Journal of Acquired
    Immune Deficiency Syndromes 1999; 21(4):348-49.

 4. Berland D. Pain management in patients with advanced cancer. Letter. Annals of Internal
    Medicine 2000; 132:593.


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